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 6                            UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
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 9     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (AHG)
10                           Petitioners-Plaintiffs,
                                                           ORDER SETTING BRIEFING
11     v.                                                  SCHEDULE AND HEARING DATE
                                                           ON MOTION TO ENFORCE
12     U.S Immigration and Customs
                                                           SETTLEMENT AGREEMENT
       Enforcement (“ICE”); et al.,
13                                                         REGARDING PROVISION OF
                         Respondents-Defendants.           LEGAL SERVICES
14
15           The Court is in receipt of Plaintiffs’ motion to enforce settlement agreement
16    regarding provision of legal services. Given that the present service contract is set to expire
17    on April 30, 2025, the Court sets the following briefing schedule and hearing on the motion:
18    1.     Defendants shall file their response to the motion on or before 5:00 p.m. Pacific
19    Time Friday, April 25, 2025.
20    2.     Plaintiffs shall file their reply brief on or before noon Pacific Time on Monday,
21    April 28, 2025.
22    3.     The motion shall be heard on Tuesday, April 29, 2025, at 1:30 p.m. Pacific Time.
23           IT IS SO ORDERED.
24    Dated: April 23, 2025
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                                                                                   18cv0428 DMS (AHG)
